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                                       November 23, 2020

VIA ECF

Hon. Victor Marrero, U.S.D.J.
U.S. District Court, S.D.N.Y., Part 1
Daniel Patrick Moynihan United States Courthouse
500 Pearl Street
New York, New York 10007

       Re:     E.G., individually and as parent and natural guardian of A.I. and L.I., minor
               children, et al. v. The City of New York et al.; No. 1:20-cv-09879

                           Request for Sealing of Unredacted Filing

Dear Judge Marrero:

         We represent Plaintiffs in the above-captioned action, and direct this correspondence to
Your Honor as Part 1 Judge of this Court. Plaintiffs respectfully seek permission to file under seal
an unredacted version of Exhibit H to the Declaration of Grant R. Mainland in Support of
Plaintiffs’ Motion for a Preliminary Injunction, filed contemporaneously herewith. Exhibit H was
filed in redacted form to protect the confidential, nonpublic addresses of certain domestic violence
shelters in New York City. In providing this information to Plaintiffs’ counsel, the General
Counsel of Defendant DSS requested that it be treated confidentially—a request that appears well-
justified given the nature of the information to be protected, and well-supported by the governing
legal standards. See, e.g., Brown v. Maxwell, 929 F.3d 41, 49 (2d Cir. 2019) (judicial documents
subject to the right of public access are those that are “relevant,” “useful,” and have a “tendency
to influence a district court’s ruling on a motion”).

                                                             Respectfully Submitted,
                                                             /s/ Grant R. Mainland
                                                             Grant R. Mainland

cc:    Counsel to All Parties (via email)




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